Case 9:22-mj-08332-BER Document 39 Entered on FLSD Docket 08/12/2022 Page 1 of 1




           UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF FLORIDA
                            WEST PALM BEACH DIVISION




  IN RE SEALED SEARCH WARRANT                                  Case No.: 9:22-MJ-08332-BER-1
  ______________________________________/

                                   NOTICE OF APPEARANCE


         Andrea Flynn Mogensen of the Law Office of Andrea Flynn Mogensen, P.A., hereby

  gives notice of her appearance as counsel on behalf of intervenor, Florida Center for Government

  Accountability, Inc. (the “Center”). The certificate of service for all pleadings, orders, and other

  papers in this action should include Andrea Flynn Mogensen, Law Office of Andrea Flynn

  Mogensen, P.A., (amogensen@sarasotacriminallawyer.com; records@flcga.org), 677 N.

  Washington Blvd., Suite 128, Sarasota, FL 34236.

                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on August 12, 2022, I caused the attached document to be
  electronically transmitted to the Clerk’s Office using the CM/ECF system for filing.




                                                /s/ Andrea Flynn Mogensen, Esq.
                                                Andrea Flynn Mogensen, Esq.
